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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

CERTAIN UNDERWRITERS AT                                                             §
LLOYDS, LONDON,                                                                     §
    Plaintiff,                                                                      §
                                                                                    §
v.                                                                                  §               CIVIL ACTION NO. H-11-0713
                                                                                    §
FOUR J’S COMMUNITY LIVING                                                           §
CENTER, INC., et al.,                                                               §
    Defendants.                                                                     §

                                                 MEMORANDUM AND ORDER

             This insurance coverage dispute is before the Court on the Motion to Dismiss

or Strike the Complaints and Answers in Intervention (“Motion”) [Doc. # 46].

Intervenor Wylette Taylor, as Guardian of Derrick James, filed no opposition to the

Motion. Intervenor Patti Wagner, as Guardian of Jenny Wagner, filed a Notice of

Order Issued in Related Litigation [Doc. # 44], a Response to the Motion [Doc. # 48],

and a Notice of Order Issued in Related Litigation [Doc. # 49]. Wagner advises the

Court that the final judgment on which leave to intervene was based has now been

vacated by the state court, a new trial has been ordered, and Intervenor’s Motion for

Reconsideration filed in state court has been denied. Wagner concedes that there no

longer exists a final judgment on which to base the intervention. Accordingly, it is

hereby


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             ORDERED that Plaintiff’s Motion to Dismiss or Strike [Doc. # 46] is

GRANTED and the Interventions are DISMISSED WITHOUT PREJUDICE and

STRICKEN.

             SIGNED at Houston, Texas, this 9th day of May, 2012.




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